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          ATTACHMENT 8
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DESIGNATION            SOURCE                                                            DURATION         ID

  7:10 - 7:13          Kaplan, Alex 2023-11-21                                            00:00:10   AK2C_PLAYED.1
                       7:10            Whereupon,
                       7:11            ALEX KAPLAN,
                       7:12            a witness called for examination, having been
                       7:13            first duly sworn, was examined and testified as
  7:18 - 7:20          Kaplan, Alex 2023-11-21                                            00:00:08   AK2C_PLAYED.2
                       7:18      Q. Good morning, Mr. Kaplan. Would you
                       7:19            please state your name for the record.
                       7:20      A. It is Alex Kaplan.
 10:17 - 10:19         Kaplan, Alex 2023-11-21                                            00:00:08   AK2C_PLAYED.3
                       10:17     Q. Okay. Mr. Kaplan, you are currently
                       10:18           the CEO of EverPass Media; is that correct?
                       10:19     A. Yes.
 11:06 - 11:13         Kaplan, Alex 2023-11-21                                            00:00:21   AK2C_PLAYED.4
                       11:06     Q. And Mr. Kaplan, you
                       11:07           started in that role in March of 2023. Is that
                       11:08           correct?
                       11:09     A. I don't recall the exact date.
                       11:10     Q. Okay. Does it sound approximately
                       11:11           correct that it is around March '23?
                       11:12     A. Yes, that sounds approximately
                       11:13           correct.
 11:14 - 11:20         Kaplan, Alex 2023-11-21                                            00:00:22   AK2C_PLAYED.5
                       11:14     Q. Okay. And EverPass Media also was
                       11:15           formed in March of 2023; is that correct?
                       11:16     A. I don't recall the exact date it was
                       11:17           formed.
                       11:18     Q. Does it sound approximately correct
                       11:19           that it was formed around March 2023?
                       11:20     A. Yes.
 11:21 - 11:24         Kaplan, Alex 2023-11-21                                            00:00:12   AK2C_PLAYED.6
                       11:21     Q. And, Mr. Kaplan, you started as CEO
                       11:22           at the same time as the formation of EverPass
                       11:23           Media; is that correct?
                       11:24     A. Yes.
 15:08 - 15:09         Kaplan, Alex 2023-11-21                                            00:00:05   AK2C_PLAYED.7
                       15:08     Q. Okay. And can you summarize what
                       15:09           EverPass Media is?

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DESIGNATION         SOURCE                                                           DURATION          ID
 15:11 - 15:24      Kaplan, Alex 2023-11-21                                           00:00:54   AK2C_PLAYED.8
                    15:11           THE WITNESS: EverPass Media is an
                    15:12           entity that distributes content into the
                    15:13           commercial bars, restaurants, businesses
                    15:14           space.
                    15:15           BY MR. TRAINER:
                    15:16     Q. And what content does EverPass Media
                    15:17           currently distribute?
                    15:18     A. EverPass distributes NFL Sunday
                    15:19           Ticket content.
                    15:20     Q. And it does so as you said only into
                    15:21           commercial entities; is that correct?
                    15:22     A. That is correct. EverPass has the
                    15:23           rights to distribute NFL Sunday Ticket and our
                    15:24           other content into commercial entities only.
 16:24 - 17:06      Kaplan, Alex 2023-11-21                                           00:00:29   AK2C_PLAYED.9
                    16:24     Q. And, Mr. Kaplan, EverPass Media
                    16:25           currently has an agreement with DirecTV to
                    17:01           distribute Sunday Ticket to those commercial
                    17:02           establishments; is that correct?
                    17:03     A. EverPass has a distribution
                    17:04           agreement with DirecTV.
                    17:05     Q. And, what does that distribution
                    17:06           agreement entail?
 17:09 - 17:12      Kaplan, Alex 2023-11-21                                           00:00:18   AK2C_PLAYED.10
                    17:09           THE WITNESS: My understanding, from
                    17:10           a business perspective, is that the agreement
                    17:11           allows for the distribution of NFL Sunday
                    17:12           Ticket content to commercial customers.
 17:23 - 18:02      Kaplan, Alex 2023-11-21                                           00:00:16   AK2C_PLAYED.11
                    17:23     Q. And is it also correct that EverPass
                    17:24           Media was formed through a joint investment by
                    17:25           RedBird Capital Partners and an entity called
                    18:01           32 Equity?
                    18:02     A. That is correct.
 18:11 - 18:11      Kaplan, Alex 2023-11-21                                           00:00:02   AK2C_PLAYED.12
                    18:11     Q. And, what is 32 Equity?
 18:13 - 18:15      Kaplan, Alex 2023-11-21                                           00:00:08   AK2C_PLAYED.13
                    18:13           THE WITNESS: My understanding is
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DESIGNATION         SOURCE                                                              DURATION          ID
                    18:14           that 32 Equity is the investment arm of the
                    18:15           National Football League.
 21:19 - 21:23      Kaplan, Alex 2023-11-21                                              00:00:14   AK2C_PLAYED.14
                    21:19     Q. And what is the ownership allocation
                    21:20           as between RedBird Capital Partners and
                    21:21           32 Equity?
                    21:22     A. 85 percent is owned by RedBird,
                    21:23           15 percent by the NFL.
 71:22 - 72:07      Kaplan, Alex 2023-11-21                                              00:00:48   AK2C_PLAYED.15
                    71:22     Q. Well, let me ask it this way.
                    71:23           Do you recall if in the fall of 2022, you were
                    71:24           negotiating with the NFL for the Sunday Ticket
                    71:25           commercial rights?
                    72:01     A. My recollection is that there were
                    72:02           some discussions in the fall. I don't recall
                    72:03           whether I -- whether they were negotiations.
                    72:04     Q. Fair enough. And, Mr. Kaplan, as
                    72:05           you were engaged in those discussions with the
                    72:06           NFL, what were your objectives with respect to
                    72:07           the commercial Sunday Ticket rights?
 72:09 - 72:11      Kaplan, Alex 2023-11-21                                              00:00:18   AK2C_PLAYED.16
                    72:09           THE WITNESS: We believed there was
                    72:10           opportunity to create a compelling business
                    72:11           that would involve those rights.
 73:04 - 73:11      Kaplan, Alex 2023-11-21                                              00:00:46   AK2C_PLAYED.17
                    73:04           As you entered into these
                    73:05           discussions with the NFL, what about the business
                    73:06           did you think was compelling?
                    73:07     A. At that point there was no business.
                    73:08           What we found compelling was the concept of being
                    73:09           able to innovate and build a product specifically
                    73:10           geared towards commercial venues using the very
                    73:11           popular NFL Sunday Ticket as part of that.
 78:25 - 80:02      Kaplan, Alex 2023-11-21                                              00:01:44   AK2C_PLAYED.18
                    78:25           Is it the case now, Mr. Kaplan, that
                    79:01           EverPass has a distribution agreement only with
                    79:02           DirecTV for Sunday Ticket commercial?
                    79:03     A. That is accurate, despite our best
                    79:04           eﬀorts.

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DESIGNATION         SOURCE                                                              DURATION          ID
                    79:05     Q. And what do you mean by that?
                    79:06     A. We have actively engaged in multiple
                    79:07           distribution conversations with other
                    79:08           distributors and have been unable to come to
                    79:09           agreements to distribute Sunday Ticket.
                    79:10     Q. I see. From your perspective, why
                    79:11           haven't you been able to consummate these other
                    79:12           distribution agreements for the distribution of
                    79:13           Sunday Ticket?
                    79:14     A. Well, I can't speak definitively for
                    79:15           other third parties.
                    79:16           But our sense is that for the cable
                    79:17           companies, which are another primary form of
                    79:18           distribution, the technical challenges of
                    79:19           delivering Sunday Ticket into commercial
                    79:20           establishments were extremely onerous and
                    79:21           expensive.
                    79:22     Q. Okay. And from -- you mentioned
                    79:23           before that despite your best eﬀorts, you have
                    79:24           been unable to complete these deals; is that
                    79:25           right?
                    80:01     A. To date, we have ongoing
                    80:02           discussions.
141:15 - 141:19     Kaplan, Alex 2023-11-21                                              00:00:20   AK2C_PLAYED.19
                    141:15 Q. But it is correct as of today that
                    141:16          commercial establishments have only one choice if
                    141:17          they want to access Sunday Ticket; is that right?
                    141:18 A. For the 2023 NFL season, DirecTV was
                    141:19          the only distributor oﬀering Sunday Ticket.
163:20 - 163:24     Kaplan, Alex 2023-11-21                                              00:00:16   AK2C_PLAYED.20
                    163:20 Q. And in your experience, the NFL does
                    163:21          not play a role in establishing the pricing for
                    163:22          commercial establishments for Sunday tickets?
                    163:23 A. EverPass sets and establishes all
                    163:24          pricing for NFL Sunday Ticket.




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